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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WISCONSIN

DATREC, LLC,

                Plaintiff,
                                              Civil Action No.: 3:21-cv-00257-wmc
        v.

EPIC SYSTEMS CORPORATION,

                Defendant.


                                   MOTION TO DISMISS




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         Pursuant to Rule 12(b)(6), Defendant Epic Systems Corporation (“Epic”) moves to dismiss

Plaintiff DatRec, LLC’s (“DatRec”) Complaint for failure to state a claim upon which relief can

be granted. Specifically, the two patents asserted in the Complaint are directed to non-inventive

abstract ideas, which are not eligible for patenting under 35 U.S.C. § 101. Accordingly, Epic

respectfully requests that the Court find the claims of the patents invalid under § 101 and dismiss

the Complaint with prejudice.

I.       INTRODUCTION

         Each of the asserted patents are directed to abstract ideas and fail to imbue those ideas with

any inventive concept. In Alice Corporation v. CLS Bank, International, the Supreme Court held

that such non-inventive abstract ideas fall outside the subject matter specified in 35 U.S.C. § 101

as eligible for patenting. 573 U.S. 208, 216 (2014). Because the subject matter of the asserted

patents—each of which was prosecuted and issued before Alice—fails to meet the patentability

requirements of 35 U.S.C. § 101, the Court should hold they are invalid and dismiss this case with

prejudice.

         The first patent—U.S. Patent No. 8,156,158—is directed to the abstract idea of collecting

information, verifying the information by cross-referencing data points, and filtering the

information into subsets for various applications. The second patent—U.S. Patent No. 8,381,309—

is directed to collecting information and then establishing communication preferences based on

the reliability of that information. These are quintessential abstract concepts—and not new ones at

that. People have been collecting information, cross-checking it against other information, sorting

the information into categories, and making decisions based on it for eons.

         Neither patent imbues these abstract ideas with any inventive concept. They do not teach

any novel means of how to accomplish the abstract ideas. Rather, the specifications themselves



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teach that the ideas may be completed using databases constructed with already-known concepts

and may be facilitated by using conventional computers, conventional servers, and other

conventional systems. Consequently, the patents are not directed to solving a known problem in

the database or computer fields; they merely tell the reader to carryout age-old human activities

with already-understood computerized techniques.

         This motion is ripe for decision now. The claims at-issue do not require formal construction

as their terms are either explicitly defined in the specifications or can be understood by their plain

and ordinary meanings. Moreover, no constructions that DatRec could propose would save the

claims from their non-inventive abstractness. Beyond that, no factual issues would prevent the

Court from deciding this motion now. The specifications themselves teach that the means of

carrying out the claimed methods and systems are conventional; no discovery is needed on that

point.

         As this Court is aware, patent litigation is expensive and time-consuming. In cases such as

this one, where the asserted patents are facially directed to patent-ineligible subject matter, the

Court should grant a motion to dismiss under Rule 12(b)(6). Genetic Technologies, Ltd. v. Merial

LLC, 818 F.3d 1369, 1373 (Fed. Cir. 2016) (citation omitted); see also SAP America, Inc. v.

InvestPic, LLC, 898 F.3d 1161, 1166 (Fed. Cir. 2018) (collecting recent cases). Accordingly, Epic

respectfully requests that the Court grant this motion, find the asserted patents directed to patent-

ineligible subject matter, and dismiss the Complaint with prejudice.




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II.      FACTUAL BACKGROUND1

         A.     The Parties and the Instant Suit

         DatRec filed the Complaint against Epic on April 16, 2021. (Dkt. 1). Pursuant to a

stipulated extension granted by the Court, Epic’s deadline to Answer or otherwise respond to the

Complaint is June 10, 2021. (Dkt. 13). At the time of filing this Motion, Epic has not yet filed an

Answer.

         The Complaint asserts that Epic allegedly infringes an unspecified number of claims of

two patents—U.S. Patent No. 8,156,158 (“the ‘158 Patent”) and U.S. Patent No. 8,381,309 (“the

‘309 Patent”) (collectively, “the patents-in-suit”).2

         Epic is a Wisconsin corporation with its principal place of business in Verona, Wisconsin.

(Dkt. 1, ⁋ 2). It is a leader in the healthcare software industry and offers patients and their

healthcare providers solutions to manage electronic health records (“EHR”). (See id., ⁋⁋ 8-9, 16-

17).3

         DatRec reportedly is a Texas limited liability company with its principal place of business

in Houston, Texas. (Id., ⁋ 1). It is not alleged to provide any goods or services; rather, it appears

to be in the business of acquiring and asserting patents for profit.4




1
  Because the Court must decide this motion on the factual allegations in the pleadings, this
Background section cites to the Complaint and its attachments, unless otherwise noted.
2
  A copy of the ‘158 Patent is attached to the Complaint as Exhibit A (dkt. 1-1) and a copy of the
‘309 Patent is attached to the Complaint as Exhibit B (dkt. 1-2). Epic cites to them respectively as
“158 Pat.” and “309 Pat.”
3
  Epic disputes that any of its software solutions infringe any asserted claim.
4
  Starting in early 2020, DatRec initiated a wave a suits against a wide variety of entities. As of
June 9, 2020, it has asserted the ‘158 Patent against 15 entities and the ‘309 Patent against 21
entities. Appendix A summarizes these suits. This Court can consider judicially noticeable facts
on a motion to dismiss. See, e.g., Peterson v. Artisan and Truckers Cas. Co., No. 19-cv-102-WMC,
2019 WL 2717099, *1, n.2 (W.D. Wis. June 28, 2019).

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         B.     The Asserted Patents

         The two patents-in-suit have overlapping named inventors and share an original assignee.

(See ‘158 Pat., Cover; ‘309 Pat., Cover). While not of the same patent family, their specifications

disclose similar teachings. (See id.).

         Both patents are broadly directed to methods and systems that provide and use a “database”

of “verified” data to accomplish various tasks (e.g., sorting data into subsets, defining permitted

levels of communication). (See ‘158 Pat., Abstract (“A verified database of a plurality of identified

individuals is provided[ and] is processed in accordance with one or more parameters or conditions

… and a sub-group database is created….”); ‘309 Pat., Abstract (“A database is provided which

comprises verified data[, which] allows for authenticating the identity of individuals[ and defines]

levels of permitted communications….”)). Neither patent teaches any novel way of providing or

constructing the database; nor do they teach a novel way of using the database to accomplish the

specified tasks. Rather, as explained herein, the patents use conventional methods to carryout age-

old human activities, like sorting and organizing information and facilitating communication.

                1.      U.S. Patent No. 8,156,158

         The ‘158 Patent relates to a “Method and System for Use of a Database of Personal Data

Records.” The specification teaches providing a “verified database” of a plurality of individuals

and processing the database with selected parameters to create a sub-group database. (‘158 Pat,

2:50-62). Essentially, the specification teaches the acts of collecting information on multiple

people, verifying the information by cross-referencing data points, and filtering the information

into subsets for various applications.

         On providing a “verified database,” the specification teaches that individuals are permitted

to enter “individual-associated data bits”—dubbed “IDBs”—into a conventional computerized



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system(s) (id. at 17:1-18:53), wherein the IDBs comprise at least one “personal identifier” (i.e., a

piece of data on the individual) and “relationship data” (i.e., a piece of data on a related individual

and the type of relationship). (Id. at 2:63-3:1; see also id. at 8:31-43 (defining “IDBs”), 8:44-61

(defining “personal identifier”) & 8:62-9:11 (defining “relationship data”)).

         The IDBs are then processed5 to create “individual-identifier data sets,” dubbed “IDSs”—

i.e., a data set pertaining to an identified individual. (Id. at 9:12-38). The specification teaches that

this processing may involve cross-referencing or comparing the data from different sources,

thereby constructing a “verified database.” (Id. at 11:60-12:11). Essentially, the data is “verified”

when they are cross-referenced and meet an unspecified threshold of reliability/authenticity—

leaving each user to decide how to define the applicable threshold. (Id. at 11:60-12:36; see also id.

at 25:67-26:4). The specification does not teach novel techniques for how to process or verify the

data, just that it may be done with conventional computer systems and with techniques known in

the art. (Id. at 17:1-18:5, 22:1-4).

         The specification then teaches that the “verified database” is filtered based on one or more

selected parameters or conditions to create a sub-database. (Id. at 3:7-15). For example, in one

disclosed embodiment, the database may be processed based on medical parameters (e.g., a

disease, a medical condition, a genotype, a phenotype, a family relationship, etc.) to “creat[e]” a

medical database. (Id. at 3:45-51). Again, the specification does not teach novel techniques for




5
  The claims and the specification of the ‘158 Patent use the terms “processing” and “processed”
to describe various activities. For example, in the first “providing” step, a database is constructed
by allowing individuals to enter IDBs and those IDBs are then “processed” to create IDSs (the
details are not explained). (‘158 Pat. at 2:50-3:6). Then, in the “processing” step, the constructed
database is processed by filtering the database based on a selected parameter (again, the details are
not explained). (Id. at 3:7-15). While Epic reserves all rights, including to argue these terms are
indefinite, what matters for purposes of this motion is that there is no explanation of “processed”
or “processing” in the specification or claims that moves them out of the realm of the conventional.

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how this processing is done, but that it may be completed with the aid of conventional computer

systems. (Id. at 17:19-18:5),

         DatRec claims Epic infringes “one or more claims 1-23,” but provides a claim chart for

only claim 1, which reads:

         1. A method for using and managing a database, the method comprising:
                [a] providing a verified database of a plurality of identified individuals, the
                   verified database comprising a plurality of individual-identifier data sets
                   (IDSs) and relationship data; and
                [b] processing said verified database in accordance with one or more
                   parameters or conditions selected in accordance with at least one medical
                   application and creating a sub-group database including data records of the
                   individuals from the verified database having said one or more selected
                   parameters or conditions, thereby allowing collection of data comprising
                   one or more selected parameters or conditions and delivery of at least part
                   of the collected data to one or more users and enable to apply data from said
                   verified database to provide personalized medicine service to at least one of
                   said identified individuals;
                [c] wherein said providing of the verified database comprises: permitting a
                   plurality of individuals to enter individual-associated data bits (IDBS) into
                   a computerized system, each of the IDBs comprising at least one personal
                   identifier relating to the individual and relationship data comprising data on
                   one or more related individuals and the nature of relationship;
                [d] processing the entered IDBs to generate the IDS, one for each identified
                   individual, being either said individual who has entered the individual-
                   associated data bits or one of the related individuals and construct the
                   verified database comprising IDSs of identified individuals.
(‘158 Pat. at Cl. 1 (brackets added)).
         The “wherein” clause of claim 1, which comprises two steps—steps (c) and (d)—relates to

the “providing a verified database” step (a). When read both separately and together, the claim’s

steps describe: collecting information on multiple people (steps (a) and (c)), verifying the

information by cross-referencing data points (step (d)), and filtering the information into subsets

for various applications (step (b)).

         The ‘158 Patent has two other independent claims—claims 17 and 23, which are both

directed to a “computerized system(s)” that essentially employ server systems to carry out steps

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that are identical or substantively similar to the method steps of claim 1. The remaining claims

depend from the independent claims and generally narrow the ideas contained in the independent

claims. See infra IV.A.4.

                2.      U.S. Patent No. 8,381,309

         The ‘309 Patent relates to “Methods and Systems for Secure Communications over a Public

Network.” The specification teaches providing a database with at least some “verified” data and

allowing users to define levels of permitted communication based on the verification. (‘309 Pat. at

1:49-62, 3:48-58). Essentially, the specification teaches building a conventional database with

information on multiple people and then establishing communication preferences based on how

reliable the information is.

         On providing a database of “verified” data, the specification teaches that the database may

be constructed using known techniques (id. at 3:59-62) by allowing individuals to enter

individualized data bits (“IDBs”), which are processed to create individualized data sets (“IDSs”),

which are further processed to construct the database (id. at 2:26-35). These terms have identical

or substantively similar meanings to those provided in the ‘158 Patent. (See id. at 5:11-17 (defining

“IDBs” as including both personal identifiers and relationship data), 5:17-27 (defining “personal

identifier” as pieces of data on the data-entering individual), 5:40-56 (defining “relationship data”

as data relating to individuals with a relationship to the data-entering individual and the type of

relationship) & 5:57-61 (defining “IDSs” as a set of data pertaining to an individual generated by

processing IDBs)).

         Also similar to the ‘158 Patent, the ‘309 Patent teaches that the data that comprises the

database is “verified” when they are cross-referenced and meet an unspecified level of reliability.

(Id. at 2:36-46, 3:37-48). The specification teaches the “level of reliability” is “a level of reliability



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(confidence) in the authenticity [of data] based on correspondence between data on the individual

entered by different users.” (Id. at 4:3-7; see also id. at 10:50-57 (server may calculate “the relative

reliability and or ratio of reliability of two data bits .…”)). In other words, the more users who

confirm pieces of information about an individual, the more reliable that information.

         Once the database is constructed and the level of reliabilities determined (levels not set or

taught by the patent), the specification teaches that users may define a communication level based

on the reliability score assigned to any sender or recipient. (Id. at 3:4-36). The specification does

not provide novel techniques for how the users may define these communication levels; it merely

teaches that it may be accomplished through the database.

         DatRec claims Epic infringes “one or more claims 1-17,” but provides a claim chart for

only claim 9, which reads:

         9. A system for enabling communication between users over a communication
         network, the system comprising;
                a server system associated with a database comprising verified data relating an
                   individual, said server system being configured and operable to verify at
                   least some of the data so as to authenticate an identity of the individual;
                determining a level of reliability in authenticity based on correspondence
                   between data on said individual entered by a plurality of related individuals;
                   and
                the system being configured to define one or more levels of permitted
                   communication between individuals in the database and the verified
                   individual on the basis of said verification.

         The ‘309 Patent has one other independent claim—claim 1—which provides a method

similar to the tasks carried out by the system of claim 9. The remaining claims depend from claims

1 and 9 in some fashion, and generally narrow the ideas contained in the independent claims. See

infra IV.B.4.




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III.     LEGAL STANDARDS

         This motion implicates standards for motions to dismiss for failure to state a claim under

Rule 12(b)(6) and the patentability standards provided in 35 U.S.C. § 101.

         A.     The Court May Properly Decide Patent Eligibility on a Rule 12 Motion.

         Dismissal for failure to state a claim under Rule 12(b)(6) is proper “when the allegations

in a complaint, however true, could not raise a claim of entitlement to relief.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 558 (2007). The allegations must be sufficient to raise the possibility of

relief above the “speculative level.” E.E.O.C. v. Concentra Health Servs., Inc., 496 F.3d 773, 776

(7th Cir. 2007). In reviewing a motion to dismiss pursuant to Rule 12(b)(6), the Court accepts as

true the plaintiff’s well-pleaded factual allegations and draws all reasonable inferences in the

plaintiff’s favor. Killingsworth v. HSBC Bank Nevada, N.A., 507 F.3d 614, 618 (7th Cir. 2007).

However, “[a] pleading that offers ‘labels and conclusions’ or a ‘formulaic recitation of the

elements of a cause of action will not do.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Twombly, 550 U.S. at 555).

         The Federal Circuit has “repeatedly recognized that in many cases it is possible and proper

to determine patent eligibility under 35 U.S.C. § 101 on a Rule 12(b)(6) motion.” Genetic Techs.,

818 F.3d at 1373 (citation omitted); see also SAP America, 898 F.3d at 1166 (collecting recent

cases). Likewise, “claim construction is not an inviolable prerequisite to validity determinations

under § 101.” Genetic Techs., 818 F.3d at 1374. In sum, the Federal Circuit has “repeatedly

affirmed § 101 rejections at the motion to dismiss stage, before claim construction or significant

discovery has commenced.” Cleveland Clinic Foundation v. True Health Diagnostics LLC, 859

F.3d 1352, 1360 (Fed. Cir. 2017) (collecting cases and affirming dismissal of complaint when

plaintiff “provided no proposed construction of any terms”).



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         B.     Abstract Ideas Are Ineligible for Patenting Under the Two-Step Test of Alice.

         Section 101 defines patent-eligible subject matter as “any new and useful process, machine,

manufacture, or composition of matter, or any new and useful improvement thereof.” 35 U.S.C.

§ 101. This provision, however, contains long-standing judicial exceptions that laws of nature,

natural phenomena, and abstract ideas are not eligible for patenting. Alice, 573 U.S. at 216. In

particular, courts have identified various types of claims likely to be patent-ineligible, including

those directed to “long-standing, well-known method[s] of organizing human behavior,” Bascom

Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1348 (Fed. Cir. 2016), “mental

processes,” Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1354 (Fed. Cir. 2016), and

“mathematical formula[s]” or an “algorithm itself.” Gottschalk v. Benson, 409 U.S. 63, 72 (1972).

         To determine whether a claim is drawn to patent-ineligible subject matter, courts apply the

two-step analysis set forth by the Supreme Court in Alice. Step one inquires whether the claim is

directed to an abstract idea. Alice, 573 U.S. at 218. As applied to claims involving computerized

systems, courts “consider whether the ‘focus of the claims’ is on a ‘specific asserted improvement

in computer capabilities or, instead, on a process that qualifies as an ‘abstract idea’ for which

computers are invoked merely as a tool.’” BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281,

1285–86 (Fed. Cir. 2018) (quoting Enfish, infra); see also Simio, LLC v. FlexSim Software Prods.,

Inc., 983 F.3d 1353, 1359 (Fed. Cir. 2020) (must consider the claim’s “key advance”). “If a

claimed invention only performs an abstract idea on a generic computer, the invention is directed

to an abstract idea.” BSG Tech, 899 F.3d at 1285–86.

         If the claim is directed to an abstract idea, courts move to step two and “examine the

elements of the claim to determine whether it contains an ‘inventive concept’ sufficient to

‘transform’ the claimed abstract idea into a patent-eligible application.” Alice, 573 U.S. at 221.



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This “transformation into a patent-eligible application requires more than simply stating the

abstract idea while adding the words ‘apply it.’” Id. at 221 (internal citations omitted). “[I]f a

claim’s only ‘inventive concept’ is the application of an abstract idea using conventional and well-

understood techniques, the claim has not been transformed into a patent-eligible application of an

abstract idea.” BSG Tech, 899 F.3d at 1285–86. “Narrowing or reformulating an abstract idea does

not add ‘significantly more’ to it.” Id.

IV.      ARGUMENT

         Both of the patents in-suit are directed to patent-ineligible subject matter because their

claims are directed to abstract ideas and contain no inventive concept.

         A.     The ‘158 Patent Is Directed to Patent-Ineligible Subject Matter.

         DatRec claims that the ‘158 Patent “relates to a novel and improved manner of constructing

a verified database of identified individuals capable of processing with a subgroup of at least one

medical application” (dkt. 1, ⁋ 7), but the claims do not cover any “manner of constructing”

anything; rather, they are directed to the abstract ideas of collecting information, verifying the

information by cross-referencing data points, and filtering the information into subsets for various

applications. These are quintessential non-inventive abstract concepts that cannot be patented.

                1. Claim 1 is directed to an abstract method under Alice step 1.

         The “focus” of claim 1 is three-fold: (1) compiling information on multiple people into a

database; (2) verifying that information by cross-referencing data points; and (3) processing the

database to create a subset of data. (‘158 Pat. at Cl. 1; see also id. at 1:6-10, 2:39-41). These

concepts of generally compiling, cross-referencing, and filtering information on people are abstract

as a matter of law. BSG Tech, 899 F.3d at 1285–86 (holding “a method of indexing wherein a user

adds data to a database using ‘a mechanism for posting the data as parametized items’ after

receiving ‘summary comparison usage information’ about parameters and values selected by prior
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users” abstract); Elec. Power Grp., 830 F.3d at 1354 (holding “a process of gathering and

analyzing information of a specified content, then displaying the results” abstract); CardioNet LLC

v. InfoBionic, Inc., 816 F. App’x 471, 475, 2020 WL 3564691 (Fed. Cir. 2020) (holding claims

directed to monitoring physiological data and identifying arrhythmia events were directed to the

abstract concept of “collecting, analyzing, and displaying data by conventional means.”)).

         In Electric Power Group, the Federal Circuit held that such concepts “fall into a familiar

class of claims ‘directed to’ a patent-ineligible concept.” 830 F.3d at 1353. In particular, the court

noted that it had invalidated, as abstract, claims directed to each of the individual steps of

“collecting information,” “analyzing information by steps people go through in their minds, or by

mathematical algorithms, without more,” and “merely presenting the results of the abstract

processes of collecting and analyzing information, without more (such as identifying a particular

tool for presentation),” and that the combination of those steps similarly was abstract. Id. at 1353-

54 (internal citations omitted). As in Electric Power Group, claim 1 of the ‘158 Patent recites an

abstract method of collecting information (“wherein said providing of the verified database

comprises: permitting a plurality of individuals to enter individual-associated data bits (IDBS) into

a computerized system” and “thereby allowing collection of data comprising one or more selected

parameters or conditions”), analyzing that information (“processing the entered IDBs to generate

the IDS … and construct the verified database comprising IDSs of identified individuals” and

“processing said verified database in accordance with one or more parameters or conditions

selected in accordance with at least one medical application and creating a sub-group database”),

and then presenting the results of that analysis (“thereby allowing … delivery of at least part of

the collected data to one or more users”).




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         The ‘158 Patent does not teach any novel means of compiling, cross-referencing, or

filtering information. Rather, it simply invokes conventional computers and servers to complete

the tasks, which does not save the claims from abstraction. (‘158 Pat. at 17:1-18:5 (“The server

system is configured according to the invention to carry out the above-described method for

creating the main verified database including the IDSs of all identified individuals and the

relationship web, based on data received from the users, being initiated in either pull or push

mode.”); see also id. at 26:58-63 (“the IDSs containing database … may be used for a variety of

uses for which computer networks have not been used hitherto…)). Mortg. Application Techs.,

LLC v. MeridianLink, Inc., 839 F. App’x 520, 526, 2021 WL 97347 (Fed. Cir. 2021) (“information

storage and exchange is an abstract idea even when it uses computers as a tool or is limited to a

particular technological environment”).

         The “verification” process for the “verified database” disclosed in the specification does

not make the focus of constructing a database of information and then processing the database into

subsets any less abstract. The “verification” merely involves cross-referencing or comparing data

from different sources to measure their reliability. (‘158 Pat. at 11:60-12:36). This is an abstract

process in and of itself—and not a new one. The specification acknowledges that various methods

of measuring reliability were already known in the art. (Id. at 22:1-5, 25:67-26:4); see also Mortg.

Application, 839 F. App’x 520, 525 (claims directed to “process in which data is received in one

format, automatically extracted, compared to a set criteria, populated into a second document, and

then stored for and retrieved by a user” abstract); Boom! Payments, Inc. v. Stripe, Inc., 839 F.

App’x 528, 532 (Fed. Cir. 2021) (claims directed to payment escrow—i.e., “verifying

consummation of a transaction”—are abstract).

         Thus, claim 1 is directed to an ineligible abstract idea under Alice step one.



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                2. Claim 1 contains no inventive concept under Alice step 2.

         Claim 1 does not contain any inventive concept that transforms it into patent-eligible

subject matter. The claim recites steps of providing and processing a database but does not recite

anything novel about those steps. Combined with the specification—which does not teach anything

other than use of off-the-shelf devices—the claimed steps themselves show the conventional

nature of the claimed method. Adaptive Streaming Inc. v. Netflix, Inc., 836 F. App’x 900, 904,

2020 WL 7334126 (Fed. Cir. 2020) (claims reciting only generic computer hardware, such as a

“processor” not inventive); Mortg. Application, 839 F. App’x 520, 526 (adding computer

functionality does not confer patent eligibility to an abstract idea).

         Arguably, the claim’s most “unconventional” feature is the “verification” process for the

“verified database,” but this feature is abstract for all the reasons above. The “verification process”

taught by the specification is a simple compare and contrast exercise, which itself is an abstract

concept and one that the prior art already disclosed. (‘158 Pat. at 22:1-5, 25:67-26:4). Boom!

Payments, 839 F. App’x 528, 532 (finding “use of an identification code does nothing more than

overlay a second layer of abstraction—specifically, identity authentication—on the … procedure

described by the claims.”).

         The claim specifies that the filtered subgroup of information may be “enable[d] to apply

data from said verified database to provide personalized medicine service to at least one of said

identified individuals,” but does not explain how this would be accomplished. Moreover, this

merely narrows the claimed method to a known application, which does not make it any less non-

inventive. As a matter of law, narrowing or reformulating an abstract idea does not add

‘significantly more’ to it.” BSG Tech, 899 F.3d at 1285–86; Simio, 983 F.3d at 1364 (“the abstract

idea itself…cannot supply the inventive concept….” (internal quotations and citations omitted)).



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         Even if considered as “as an ordered combination,” the complete method of claim 1 adds

nothing that is not already present when the steps are considered separately. Alice, 573 U.S. at 225-

226. As explained supra, the steps are directed to compiling information, verifying information,

and sorting. Even when taken all together, the steps are nothing more than instructions to carry out

these ideas. They do not combine to improve the functioning of the claimed database. See id. Nor

do they effect an improvement in any other technology or technical field. See id. This is not

“enough” to transform an abstract idea into a patent-eligible invention. Id.

         Thus, claim 1 does not contain an inventive concept sufficient to transform the abstract

idea identified in Alice step one into an eligible claim. Claim 1 of the ‘158 patent is, therefore,

invalid under 35 U.S.C. § 101.

                   3. Independent claims 17 and 23 are directed to the same non-inventive
                      abstract idea as claim 1.

         When viewed side-by-side, independent claims 1, 17, and 23 overlap element-by-element:

                Claim 1                     Claim 17                           Claim 23
 A method for using and A computerized system for                   A computerized system for
 managing a database, the managing and using a database             managing and using a data
 method comprising:           over a computer network, the          base, the system comprising a
                              system comprising a server            server system accessible by
                              system linked to the network and      users via their communication
                              accessible by users via their         devices connectable to the
                              communication             devices     server system, said server
                              connectable to the network, said      system comprising a processor
                              server system comprising a            utility, which is associated
                              processor utility, which is           with
                              associated with
 [a] providing a verified [a] a verified database of a              [a] a verified database of a
 database of a plurality of plurality        of       identified    plurality      of      identified
 identified individuals, the individuals      comprising       a    individuals comprising a
 verified            database plurality of individual-identifier    plurality     of     individual-
 comprising a plurality of data sets (IDSs) and relationship        identifier data sets (IDSs) and
 individual-identifier data data and which is adapted to            relationship data and which is
 sets (IDSs) and relationship carry out the following;              adapted to carry out the
 data; and                                                          following:


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 [b] processing said verified    [b] process said verified            [b] process said verified
 database in accordance          database in accordance with one      database in accordance with
 with one or more                or     more    parameters      or    one or more parameters or
 parameters or conditions        conditions selected according to     conditions selected according
 selected in accordance with     at least one medical application     to at least one medical
 at least one medical            and create a sub-group database      application and create a sub-
 application and creating a      comprising data about at least       group database comprising
 sub-group database              some      of    the    identified    data about at least some of the
 including data records of       individuals characterized by said    identified           individuals
 the individuals from the        one or more selected parameters      characterized by said one or
 verified database having        or conditions, and apply data        more selected parameters or
 said one or more selected       from said verified database in       conditions, and apply data
 parameters or conditions,       order to provide a personalized      from said verified database in
 thereby allowing collection     medicine service to at least one     order to provide a personalized
 of data comprising one or       of said identified individuals;      medicine service to at least
 more selected parameters        configured to carry out the          one of said identified
 or conditions and delivery      following:                           individuals;
 of at least part of the
 collected data to one or
 more users and enable to
 apply data from said
 verified database to
 provide personalized
 medicine service to at least
 one of said identified
 individuals;
 [c] wherein said providing      [c] receive a plurality of           [c] wherein said providing of
 of the verified database        individual-associated data bits      the     verified     database
 comprises: permitting a         (IDBS) entered by clients, the       comprises:
 plurality of individuals to     IDBs comprising personal             permitting a plurality of
 enter individual-associated     identifiers and relationship data,
                                                                      individuals to enter individual
 data bits (IDBS) into a         the relationship data comprising
                                                                      associated data bits (IDBS)
 computerized system, each       data on one or more related          into a computerized system,
 of the IDBs comprising at       individuals and the nature of        each of the IDBS comprising
 least one personal identifier   relationship,                        at least one personal identifier
 relating to the individual                                           relating to the individual and
 and      relationship    data                                        relationship data comprising
 comprising data on one or                                            data on one or more related
 more related individuals                                             individuals and the nature of
 and      the     nature    of                                        relationship;
 relationship;
 [d] processing the entered      [d] generate an individual           [d] processing the entered
 IDBs to generate the IDS,       identifier data set (IDS), one for   IDBs to generate the IDS, one
 one for each identified         each identified individual, being    for each identified individual,
 individual, being either said   either one of the users or one of    being either said individual
 individual who has entered      the related individuals, process     who     has     entered    the

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 the individual-associated       all the IDSs and construct a        individual-associated data bits
 data bits or one of the         verified database comprising        or one of the related
 related individuals and         IDSs of identified individuals      individuals and construct the
 construct     the    verified   and their position in a             verified database comprising
 database comprising IDSs        relationship web, and process       IDSs of identified individuals.
 of identified individuals.      the information in said verified
                                 database according to said at
                                 least one selected parameter or
                                 condition and create the
                                 corresponding sub-group
                                 database of at least some of said
                                 identified individuals.


         Thus, claims 17 and 23 are directed to the same abstract idea as claim 1, i.e., compiling

information on multiple people into a database (steps (a) and (c)), verifying that information by

cross-referencing data points (step (d)), and processing the database to create a subset of data (step

(b)). See supra II.B.1 & IV.A.1.

         Under Alice step two, the only elements claims 17 and 23 recite other than that abstract

idea are conventional devices like: “a computerized system,” “a computer network,” “a server

system,” and “communication devices.” Like the database recited in claim 1, these devices are

neither claimed nor described in the specification as being anything other than conventional fare.

(‘158 Pat. at 17:1-18:5). Additionally, when viewed as an ordered combination, claims 17 and 23

simply instruct that the abstract idea be carried out using the recited “computerized system,”

“computer network,” “server system,” and “communication devices,” with no explanation for how

this should be done. See Preservation Wellness Techs. LLC v. Allscripts Healthcare Sols., No.

2:15-CV-1559-WCB, 2016 WL 2742379, at *9-10 (E.D. Tex. May 10, 2016) (Bryson, J.), aff’d

sub nom. Pres. Wellness Techs. LLC v. Allscripts Healthcare Sols. Inc., 684 F. App’x 970 (Fed.

Cir. 2017). The claims do not purport to combine these devices in a manner that improves their

function. See Alice, 573 U.S. at 225-26. Nor do the claims purport to carry out an improvement in

any other technology or technical field. See id. “[I]f a patent’s recitation of a computer amounts to
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a mere instruction to ‘implemen[t]’ an abstract idea ‘on ... a computer,’ that addition cannot impart

patent eligibility.” Id. at 223 (internal citations omitted).

         Thus, like claim 1, independent claims 17 and 23 are invalid under 35 U.S.C. § 101.

                4.      Each of the dependent claims also is ineligible.

         The dependent claims of the ‘158 Patent do not add any elements or limitations that make

the claims any less abstract or any more inventive. Claims 2 and 18 merely specify that the

processing step/processor utility be initiated by/responsive to a user, and claim 3 specifies a user

whose data is in the database. (‘158 Pat. at Cl. 2 (“wherein said processing of the verified database

… is initiated by a request from a user”); id. at Cl. 3 (“wherein said user is the individual whose

data is included in the verified database”); id. at Cl. 18 (“wherein said processor utility is

responsive to a user request ….”)). These variations do not change the abstract nature of the

claims—they are still directed to collecting, verifying, and sorting information on people. Nor do

these variations provide any additional detail on how these activities can/should be carried out.

Moreover, to the extent these variations result in improved information as stored within or

outputted by the database, that is not an equivalent to an improved database itself, or any other

feature within the claims. See BSG Tech, 899 F.3d at 1287 (“While the presentation of summary

comparison usage information to users improves the quality of the information added to the

database, an improvement to the information stored by a database is not equivalent to an

improvement in the database’s functionality.”).

         Claims 4-5 and 19-21 merely specify that the processing step/processor utility generate a

request to at least some of the individuals and/or update the database with the data received. (‘158

Pat. at Cl. 4 (“generating a request to at least some of the individuals”); id. at Cl. 5 (“updating the

verified database with the additional data received from at least some of the individuals”); id. at

Cl. 19 (“to generate a request to at least some of said identified individuals”); id. at Cl. 20
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(“configured for updating the verified database with said additional data”)). In effect, these claims

merely narrow the abstract idea to more specific subsets of individuals/users and a potentially

smaller subset of information, but narrowing the abstract idea does not make it any less abstract or

any more inventive. See BSG Tech, 899 F.3d at 1287 (“a claim is not patent eligible merely because

it applies an abstract idea in a narrow way”) (citing Two-Way Media Ltd. v. Comcast Cable

Communications, LLC, 874 F.3d 1329 (Fed. Cir. 2017)). Like the independent claims, these claims

do not purport to improve the recited database or devices; nor do they purport to solve any

particular problem in the field of databases. They simply command that the ideas of generating

requests/updating the database be carried out without any additional explanation of how this

can/should be done.

         Claims 9-11 merely add filtering a subgroup of individuals during the processing step,

providing a product or service to an individual in the subgroup, and doing so in response to

information pertaining to an individual. (‘158 Pat. at Cl. 9-11). As with the independent claims,

neither the claims themselves nor the specification teach any novel means of completing these

tasks, just that they may be carried-out by conventional computers or servers. In effect, the claims

simply command that “at least one of a product and a service” be provided to an individual based

on information known about that individual. Adding this abstract concept to an already abstract

idea does not elevate it in any meaningful way. Boom! Payments, 839 F. App’x 528, 532

(“overlay[ing] a second layer of abstraction” does not elevate an abstract idea).

         Claims 7, 12, 14, and 22 specify that the processing step/system creates a “medical

database” or a “family database” (‘158 Pat. at Cl. 7, 12, 14, 22), but the specification does not

teach any novel way of compiling these named databases; it simply teaches that they are comprised

of certain types of information common to their applications. (Id. at 3:45-53 (“Such medical data



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base may comprise information pertaining to at least one of a disease, a medical condition, a

genotype, a phenotype, a family relationship; and a geographic location of at least one of the

identified individuals.”); id. at 13:45-53 (“Thus, the IDS of each individual may be viewed as a

relationship database, in particular a family database of individuals related to said first

individual.”)). Likewise, claim 13 specifies that information may be consolidated to create an

“expanded relationship data record” and claim 15 specifies that the database be compiled with a

“personalized medical record,” but, again, the specification does not teach any novel way of

consolidating this information, it merely contemplates “consolidating … at least two relationship

data pieces to construct an expanded relationship data record” and having “hospitals/medical

centers … provid[ing] updated personalized medical records.” (Id. at 5:13-29; id. at 19:23-28 &

19:62-20:2); see also Preservation Wellness, 2016 WL 2742379, at *10 (“If the [claimed function]

does have a structural definition, but that definition is so well known that it need not be described

in the patent to be understood by a person of ordinary skill in the art, then that structure is simply

a conventional structure that functions in a well-known manner and thus is insufficient to

contribute the required ‘inventive concept’ for purposes of section 101 analysis.”).

         Claims 6, 8, and 16 provide more specific—but not any less abstract—applications for the

method or a step of the method (‘158 Pat. at Cl. 6 (parameters and conditions selected from list of

applications), id. at Cl. 8 (medical application based on personalized medicine), id. at Cl. 16

(personalized medial service selected from treatment, prevention, or prediction services). Simply

reciting that an abstract idea take place in a “generic environment” does not save that idea from

abstraction. BSG Tech, 899 F.3d at 1288; Content Extraction & Transmission LLC v. Wells Fargo

Bank, Nat. Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014). “[L]imitation of the claims to a particular

field of information … does not move the claims out of the realm of abstract ideas.” SAP America,



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898 F.3d at 1169. Based on the foregoing, the claims of the ‘158 Patent are directed to patent-

ineligible subject matter and must be cancelled as failing the requirements of 35 U.S.C. § 101.

         B.     The ‘309 Patent Is Directed to Patent-Ineligible Subject Matter.

         Although DatRec alleges that “[t]he ‘309 Patent relates to a novel and improved system for

secure communications over a public network” (dkt. 1, ¶ 15), the claims of that patent are directed

to something far more generic, namely building a conventional database with information on

multiple people and then establishing communication preferences based on how reliable the

information is. These are quintessential abstract concepts that cannot be patented.

                   1.   Claim 1 is directed to an abstract method under Alice step 1.

         The ‘309 Patent’s independent claim 1 recites:

         1. A method for communication between users over a communication network,
         comprising:
             (a) providing a database which comprises verified data relating to identity of an
             individual, said database being accessible through the network and the verified
             data being used for authenticating the identity of the individual, the database
             being constructed by;
                  permitting a plurality of individuals related to the said individual to each
                     enter data on the individual wherein the data is an individual-associated
                     data bits (IDB) comprising a personal identifier and relationship data
                     indicative of a family tree,
                  generating an individual-associated data set (IDS) from the IDB wherein
                     the IDS comprises data on the individual and related individuals,
                  verifying the IDS for the individual by determining the level of reliability
                     based on a degree of similarity between data on the individual entered
                     by different individuals, and
             (b) compiling the individual data sets (IDSs) to construct the database, and
             defining one or more levels of permitted communication between individuals
             in the database and the verified individual on the basis of the verification.

(‘309 Pat. at 19:11-34).

         Part (a) and the first half of part (b) of claim 1 recite steps for building a conventional

database, i.e., “providing” the database and “compiling [data] to construct the database,” where

the additional limitations merely define the source and type of data used to construct that database


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or recite analytical steps performed on the data. Neither claim 1 nor the specification of the ‘309

Patent suggests, let alone requires, that the database is anything other than a standard, conventional

database. BSG Tech, 899 F.3d at 1285–86 (holding that “[i]f a claimed invention only performs an

abstract idea on a generic computer, the invention is directed to an abstract idea”); cf. Enfish, LLC

v. Microsoft Corp., 822 F.3d 1327, 1337 (Fed. Cir. 2016) (holding that “the self-referential table

recited in the claims … is a specific type of data structure designed to improve the way a computer

stores and retrieves data in memory[, as compared to t]he specification’s disparagement of

conventional data structures…”).

         Once the database is built, the second half of step (b) then uses that information to “defin[e]

one or more levels of permitted communication” between people. In particular, the ‘309 Patent

teaches that:

         In general, the present invention provides means for verifying identity of a user that
         is or may be a party of an electronic communication. Through such verification
         users may be identified and classified into different classes, for example: a class of
         users the identity of whom is verified with a defined degree of reliability and are
         thus permitted to communicate with other users or a subset of other users; a class
         of users the identity of whom is verified with a lower degree of reliability and are
         thus permitted only a low level of communication with other users or a subset of
         other users. A non-limiting example is an electronic filter permitting email
         communication or other type of electronic messaging only of verified users and
         rejecting others or permitting only a limited degree (or “flagged”) communication
         with non-verified users.

(‘309 Pat. at 2:4-17). In other words, “defining one or more levels of permitted communication”

may include, e.g., establishing groups of users that are permitted to communicate with one another

due to the fact that those users’ identities are all acceptably verified or indicating that fewer types

of communication are available as between less reliably verified users.

         Thus, as noted above, the focus of the claims under the first step of Alice, is directed to the

abstract idea of building a conventional database with information on multiple people and then



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analyzing that data to establish communication preferences based on how reliable the information

is. Essentially, this abstract idea is no more than rudimentary data processing, where the data

processing comprises receiving data, analyzing it, and then using the results of that analysis to

generate a filtering scheme, which the Federal Circuit has held on multiple occasions to be

unpatentable under Section 101.

         With regard to the database building and data analysis portions of the claim, the Federal

Circuit has held that “a process of gathering and analyzing information of a specified content, then

displaying the results” is an ineligible abstract idea. Elec. Power Grp., 830 F.3d at 1354. Similarly,

in Content Extraction, the court held that “1) collecting data, 2) recognizing certain data within

the collected data set, and 3) storing that recognized data in a memory,” represented an ineligible

abstract idea because “[t]he concept of data collection, recognition, and storage is undisputedly

well-known.” 776 F.3d at 1347. And in FairWarning IP LLC v. Iatric Systems, Inc., the court held

that “collect[ing] information,” “analyz[ing] that information according to one of several rules,”

and “provid[ing] notification” as a result of that analysis is an ineligible abstract idea. 839 F.3d

1089, 1093 (Fed. Cir. 2016).

         With regard to the filtering scheme of claim 1 that defines the one or more levels of

permitted communication, the concept of filtering or screening communications based on

verification or authentication is also abstract. EasyWeb Innovations, LLC v. Twitter, Inc., 689 F.

App’x 969, 970, 548, 2017 WL 1969492 (Fed. Cir. 2017) (holding that claims directed to “message

publishing system that accepts messages in multiple ways …, verifies the message was sent by an

authorized sender, and converts and publishes the message” are abstract); see also NetSoc, LLC v.

Match Grp., LLC, 838 F. App’x 544, 2020 WL 7828777 (Fed. Cir. 2020) (holding that

“‘maintaining’ a list of participants, ‘presenting’ a user with selectable categories, ‘displaying’



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participant information based on the selected category, ‘shielding’ contact information, ‘enabling’

the user to send a message to participants, ‘tracking’ a response time of participants, and ‘updating’

participant ratings are all human activities that [are abstract, even though] the claims more

efficiently organize [them] by applying them to a ‘network computer system’”); Bascom, 827 F.3d

at 1348 (holding claims eligible at Alice step two for including a novel arrangement of computer

components, but indicating at step one “that filtering content is an abstract idea because it is a

longstanding, well-known method of organizing human behavior, similar to concepts previously

found to be abstract”).

         In essence, after the conventional data gathering and analysis steps of the first part of claim

1, the filtering scheme of claim 1 that defines the level(s) of permitted communication between

individuals is an abstract method of organizing human activity, which is not a patentable concept.

See Preservation Wellness, 2016 WL 2742379, at *7 (“controlling access based on eligibility does

not render the otherwise abstract idea any less abstract”).

         Thus, claim 1 is directed to an ineligible abstract idea under Alice step one.

                   2.     Claim 1 contains no inventive concept under Alice step 2.

         Under the second step of Alice, claim 1 does not contain any inventive concepts that

transform it into patent-eligible subject matter. In addition to the elements of claim 1 that define

the abstract idea discussed above, claim 1 includes limitations directed to the type of analysis

performed on the data and the method of filtering or screening communications according to the

defined level(s) of communication. However, as discussed below, each of these elements is recited

at a high level of generality that is insufficient to transform the identified abstract idea into an

eligible claim. Alice, 573 U.S. at 222 (“‘Simply appending conventional steps, specified at a high

level of generality,’ [is] not ‘enough’ to supply an ‘inventive concept.’”) (quoting Mayo



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Collaborative Services v. Prometheus Labs., Inc., 566 U.S. 55, 82, 77, 72 (2012) (emphasis in

original)).

         The specific type of data analysis recited in claim 1, i.e., the process of authenticating or

verifying information, does not make claim 1 any less abstract, particularly because that process

is only recited at a high level of generality. Specifically, claim 1 only states that the IDS for an

individual is verified “by determining the level of reliability based on a degree of similarity

between data on the individual entered by different individuals.” (‘309 Pat. at 19:26-29). The

specification of the ‘309 Patent further teaches that this “degree of similarity” can be obtained by

cross-referencing and comparing information and that means for completing this task were already

known in the art. (See id. at 14:10-15 (“Those skilled in the art will readily appreciate that other

embodiments of person identifiers may be implemented and different comparing algorithms may

operate on any or all person identifiers and may use methods known to those skilled in the art or

methods that are apparent in light of this disclosure.”)); see also Bozeman Fin. LLC v. Fed. Rsrv.

Bank of Atlanta, 955 F.3d 971, 978 (Fed. Cir. 2020) (indicating that “receiving data from two

financial records, storing that data, comparing that data, and displaying the results” is an ineligible

abstract idea), cert. denied, 141 S. Ct. 1053 (2021).

         Additionally, the process of defining “levels of reliability” does not make the claim any

less abstract. Neither claim 1 nor the specification more generally prescribes any particular

algorithms for calculating the levels of reliability and teaches that they may be determined by

assigning whole numbers (e.g., ‘309 Pat. at 16:10 (“The highest reliability score is 10 and the

lowest is zero”)) based on the number of matched cross-references. CardioNet, 816 F. App’x 471,

477 (holding that a mathematical computation performed by a general-purpose computing device




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that “could otherwise be performed by a human, mentally or with pen and paper” is abstract)

(internal quotations omitted).

         Arguably, the most “unconventional” feature of the claims is the concept of screening

communications based on the reliability associated with an individual’s identity, but, as discussed

above, this feature is recited at a high level of generality. As for specific methods of carrying out

that step, the specification teaches that there were already-known, conventional means of carrying

out the abstraction. (‘309 Pat. at 6:64-66 (“The references cited in the background teach many

principles of computerized management of related data records that are applicable to the present

invention.”)); Bozeman, 955 F.3d at 980 (no inventive concept for abstract verification method

where specification taught the technological components were “off-the-self, conventional

computer, storage, network, and display technology”); Solutran, Inc. v. Elavon, Inc., 931 F.3d

1161, 1169 (Fed. Cir. 2019) (no inventive concept where the background describes claimed steps

as conventional), cert. denied, 140 S. Ct. 2515 (2020).

         When viewed as an “ordered combination,” these additional elements in combination with

the components of claim 1 that define the abstract idea, amount to no more than applying that

abstract idea in a generic computer environment using generalized, conventional analytical

methods. Alice, 573 U.S. at 217. As the Court held in Alice, “mere recitation of a generic computer

cannot transform a patent-ineligible abstract idea into a patent-eligible invention[, nor is s]tating

an abstract idea while adding the words ‘apply it’ … [n]or is limiting the use of an abstract idea

‘to a particular technological environment.’” Id. at 223 (internal citations omitted).

         Thus, claim 1 does not contain an inventive concept sufficient to transform the abstract

idea identified in Alice step one into an eligible claim. Claim 1 of the ‘309 Patent is, therefore,

invalid under 35 U.S.C. § 101.



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                   3.   Independent claim 9 is directed to the same non-inventive abstract idea
                        as claim 1.

         When viewed side-by-side, the court can see that claims 1 and 9 overlap in scope and that

claim 9 is, in fact, broader than claim 1:

                                                                 Explanation of Similarities
 Claim 1                           Claim 9
                                                                 Between Claims 1 and 9
 A method for communication     A system for enabling            A system or method permitting
 between users over a           communication between            people to talk to one another
 communication network,         users over a communication
 comprising:                    network, the system
                                comprising;
 (a) providing a database       a server system associated       Conventional computer
 which comprises verified data with a database comprising        database with information on
 relating to identity of an     verified data relating an        multiple people
 individual,                    individual,
 said database being accessible said server system being         Using conventional computer
 through the network and the    configured and operable to       components to authenticate a
 verified data being used for   verify at least some of the      person’s identity
 authenticating the identity of data so as to authenticate an
 the individual,                identity of the individual;

 the database being              N/A                             N/A
 constructed by; permitting a
 plurality of individuals
 related to the said individual
 to each enter data on the
 individual wherein the data is
 an individual-associated data
 bits (IDB) comprising a
 personal identifier and
 relationship data indicative of
 a family tree, generating an
 individual-associated data set
 (IDS) from the IDB wherein
 the IDS comprises data on the
 individual and related
 individuals,




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                                                                   Explanation of Similarities
 Claim 1                            Claim 9
                                                                   Between Claims 1 and 9
 verifying the IDS for the          determining a level of         Assessing how reliable
 individual by determining the      reliability in authenticity    information about a person is,
 level of reliability based on a    based on correspondence        based on the degree to which
 degree of similarity between       between data on said           information about that person
 data on the individual entered     individual entered by a        that comes from multiple
 by different individuals, and      plurality of related           people matches
                                    individuals;
 (b) compiling the individual       N/A                            N/A
 data sets (IDSs) to construct
 the database, and
 defining one or more levels of     and the system being           Establishing communication
 permitted communication            configured to define one or    preferences based on how
 between individuals in the         more levels of permitted       reliable the information is
 database and the verified          communication between
 individual on the basis of the     individuals in the database
 verification.                      and the verified individual
                                    on the basis of said
                                    verification.

          Thus, claim 9 is directed to the same abstract idea under Alice step one as claim 1, i.e.,

building a conventional database with information on multiple people and then analyzing that data

to establish communication preferences based on how reliable the information is. See supra

IV.B.1.

          Under Alice step two, the only element of claim 9 in addition to that abstract idea is “a

server system.” However, that server, like the database recited in claims 1 and 9, is neither claimed

nor described in the specification as being anything other than a standard, conventional computer

component. (‘309 Pat. at 6:21-63). Additionally, when viewed as an ordered combination, claim 9

simply recites the abstract idea as implemented using a server system. However, “if a patent’s

recitation of a computer amounts to a mere instruction to ‘implemen[t]’ an abstract idea ‘on ... a

computer,’ that addition cannot impart patent eligibility.” Alice, 573 U.S. at 223 (internal citations

omitted).

          Thus, like claim 1, independent claim 9 is invalid under 35 U.S.C. § 101.

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                   4.    Each of the dependent claims also is ineligible.

         The dependent claims do not add any elements or limitations that make them any less

abstract. Claim 8 is directed to a “computerized system” that can carry out the steps of claim 1,

and claim 10 is the system of claim 9, but specifies that the claimed server system creates the

claimed database. As with the independent claims, the specification does not teach any novel

means of completing these steps, just that they may be carried-out by the system. (‘309 Pat. at

4:20-28 (“The server system is configured and operable to verify at least some of the data so as to

authenticate an identity of the individual, thus allowing to define one or more levels of permitted

communication between individuals in said database and the user on the basis of said

verification.”); id. at 10:52-54 (“the system operates to determine whether a match between data

bits…. is reliable”)).

         Claims 2-4 specify defining a level of communication with a “graded personalized

receiving mechanism,” but the specification does not teach anything novel about this mechanism

that saves the claims from abstraction. Rather, the specification teaches that the “graded

personalized receiving mechanism” is an undefined means for an individual to screen

communications from other individuals based on what is known about those other individuals,

similar to a person deciding to answer a phone call if they recognize the caller’s number or deciding

not to answer the call and let it go to voicemail if they do not recognize the number or if it does

not register as corresponding to a number belonging to one of their saved contacts. (Id. at 3:31-36

(“Typically, the mechanism provides a personalized protection level responsive to the type of

communication. In some cases, the graded personalized receiving mechanism enables an

authenticated user to expose his identity at different levels responsive to the [sic] at least one of a

sender and a recipient of the communication.”)).



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         Likewise, claims 5-7 specify authenticating the identity of individuals by providing a user

a “score” for the reliability of the data, wherein the data may be received from the user or another,

but again, the specification does not teach anything novel about this scoring, noting instead that

means of such scoring are known in the art and can be carried out by conventional computers and

servers. (See e.g., id. at 16:10; 10:52-54)

         Claims 11-13 and 16 depend from claim 1 and specify variations for the method “providing

an organizational chart of data.” Neither the specification nor the claims limit this step to any

particular method of “providing” such a chart. Instead, the specification merely describes the chart

in terms of a visual representation of data. (Id. at 16:46-50 (“The family tree may be organized

into an organizational chart, in which the user (Simon son of Jacob, or Simon Jacobs) is in a central

circle, around which concentric annuli are disposed relating to family members starting from the

first degree family members…..”); id. at 17:5-9 (“According to some other embodiments, there

may be two organizational charts comprising the same family members, one for the individual to

decide on the family members from whom he wants to receive information, and the other to whom

he wants to provide information.”)).

         Claim 17 depends from claim 16 and merely provides that the chart display individuals

based on a specified list of parameters. But narrowing an idea in this manner does not save it from

abstraction. BSG Tech, 899 F.3d at 1285–86; Simio, 983 F.3d at 1364.

         Claims 13-15 depend from claim 11 and specify use of a “control button” to effectuate

variations of the screening step. The specification does not teach how this button works, just that

it may form part of a graphical user interface and can be activated to screen communications. (‘309

Pat. at 16:35-38 (“The screen may for example be facilitated by the appropriately configured user

interface. For example, such user interface may be configured to provide the user with template,



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navigation and control buttons, and the user’s family tree.”); id. at 17:33-35 (“As indicated above

the user interface may provide navigation and control buttons to assist the user in activating and

using the organizational chart.”). See Simio, 983 F.3d at 1363 (“using graphical processes to

simplify simulation building has been done since the 1980s and 1990s” and “applying the already-

widespread practice of using graphics …” in a well-known environment is abstract).

         Based on the foregoing, the claims of the ‘158 Patent are directed to patent-ineligible

subject matter and must be cancelled as failing the requirements of 35 U.S.C. § 101.

         C.    No Claim Construction Issues or Factual Disputes Prevent the Court From
         Deciding This Issue at This Stage of the Case.

         This motion is ripe for decision now. The claims at-issue do not require formal

construction. Despite peppering the claims with acronyms like “IBDs” and “IDSs,” these terms

are readily understood as the specifications of both patents provide explicit definitions. (‘158 Pat.

at (defining “IDBs”), 8:44-61 (defining “personal identifier”), 8:62-9:11 (defining “relationship

data”), 9:12-38 (defining “IDSs”); ‘309 Pat. at 5:11-17 (defining “IDBs” as including both

personal identifiers and relationship data), 5: 5:17-27 (defining “personal identifier” as pieces of

data on the data-entering individual), 5:40-56 (defining “relationship data” as data relating to

individuals with a relationship to the data-entering individual and the type of relationship), 5:57-

61 (defining “IDSs” as a set of data pertaining to an individual generated by processing IDBs)).

Any other terms carry their plain and ordinary meaning. Moreover, even adopting the most

generous constructions for purposes of this motion, the arguments do not change.

         Beyond that, no factual issues would prevent the Court from deciding this motion now.

The specifications themselves teach that the means of carrying out the claimed methods and

systems are conventional. (‘158 Pat. at 17:1-18:5 (“The server system is configured according to

the invention to carry out the above-described method for creating the main verified database


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including the IDSs of all identified individuals and the relationship web, based on data received

from the users, being initiated in either pull or push mode.”); see also 26:58-63 (“the IDSs

containing database … may be used for a variety of uses for which computer networks have not

been used hitherto…); ‘309 Pat. at 6:64-66 (“The references cited in the background teach many

principles of computerized management of related data records that are applicable to the present

invention.”)). These teachings are sufficient to decide this motion; no discovery is needed. See

Enco Sys., Inc. v. DaVincia, LLC, 845 F. App’x 953, 958, 2021 WL 855856 (Fed. Cir. 2021) (citing

Secured Mail Sols. LLC v. Universal Wilde, Inc., 873 F.3d 905, 913 (Fed. Cir. 2017) (“In ruling

on a 12(b)(6) motion, a court need not ‘accept as true allegations that contradict matters properly

subject to judicial notice or by exhibit,’ such as the claims and the patent specification.” (citation

omitted))).

         Thus, this case is unlike Berkheimer v. HP Inc., where the Federal Circuit noted that the

specification explicitly “describe[d] an inventive feature that store[d] parsed data in a purportedly

unconventional manner.” 881 F.3d 1360, 1369 (Fed. Cir. 2018). There, the Federal Circuit

examined whether the improvement described in the specification was captured in the claims. For

those claims that recited the alleged improvement, the Federal Circuit found a genuine “factual

dispute regarding whether the invention describe[d] well-understood, routine, and conventional

activities.” Id. But where the claims did not recite the purportedly inventive feature, the Federal

Circuit concluded that they were directed to patent-ineligible subject matter under § 101. Id. Here,

neither the claims nor the specification describes any unconventional components or use of

conventional components in some unconventional manner.

         Accordingly, the claims’ eligibility is ripe for the Court’s consideration, and the asserted

claims should be found invalid for failing to claim patent-eligible subject matter.



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V.       CONCLUSION

         For the foregoing reasons, Defendants respectfully request that the Court grant this Motion

and find that the claims of the ‘158 Patent and the ‘309 Patent are invalid and dismiss DatRec’s

Complaint with prejudice.



 Dated: June 9, 2021                               QUARLES & BRADY LLP

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